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                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO


      In re:                                                         PROMESA
                                                                     Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO                                    No. 17 BK 3283-LTS
      RICO,
                                                                     (Jointly Administered)
                as representative of

      THE COMMONWEALTH OF PUERTO RICO,
      et al.,

                               Debtors.1


                                        CERTIFICATE OF SERVICE

               The undersigned hereby certifies that I caused true and correct copies of the following

        1. Twelfth Interim Application of Jenner & Block LLP as Counsel to the Official Committee

  of Retired Employees of the Commonwealth of Puerto Rico for Allowance of Compensation for

  Services Rendered and Reimbursement of Expenses Incurred from February 1, 2021 through May

  31, 2021 as Dkt. No. 17363 (the “Jenner Application”);

        2. Twelfth Interim Application of FTI Consulting, Inc. for Allowance of Compensation for

  Services Rendered and Reimbursement of Expenses Incurred as Financial Advisor to the Official



  1
    The Debtors in these jointly-administered PROMESA title III cases (these “Title III”), along with each Debtor’s
  respective title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto Rico
  (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
  Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto
  Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal
  Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico
  (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric and
  Power Authority (Bankruptcy Case No. 17 BK 4780) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto
  Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax
  ID: 3801).
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  Committee of Retired Employees of the Commonwealth of Puerto Rico from February 1, 2021

  through May 31, 2021 as Dkt. No. 17364 (the “FTI Application”);

     3. Twelfth Interim Application of Bennazar, Garcia & Milian, C.S.P. for Allowance of

  Compensation for Services Rendered and Reimbursement of Expenses Incurred as Attorneys to

  the Official Committee of Retired Employees of the Commonwealth of Puerto Rico from February

  1, 2021 through May 31, 2021 as Dkt. No. 17366 (the “Bennazar Application”);

     4. Twelfth Interim Application of Segal Consulting for Allowance of Compensation for

  Services Rendered and Reimbursement of Expenses Incurred as Actuaries and Consultants to the

  Official Committee of Retired Employees of the Commonwealth of Puerto Rico from February 1,

  2021 through May 31, 2021 as Dkt. No. 17369 (the “Segal Application”); and

     5. Twelfth Interim Application of Marchand ICS Group for Allowance of Compensation for

  Services Rendered and Reimbursement of Expenses Incurred as Information Agent to the Official

  Committee of Retired Employees of the Commonwealth of Puerto Rico from February 1, 2021

  through May 31, 2021 as Dkt. No. 17371 (the “Marchand Application”; and together with the

  Jenner Application, FTI Application, Bennazar Application, and the Segal Application, the

  “Applications”);

  to be served in the following manner:

         On July 15, 2021, the Applications were sent through the Court’s CM/ECF system, and on

  July 15, 2021, the Applications were sent via secure file transfer to each of the parties listed in

  Exhibit A attached hereto.

         On July 15, 2021, the Applications were sent via secure file transfer to the Honorable

  Laura Taylor Swain and Honorable Judith G. Dein at SwainDPRCorresp@nysd.uscourts.gov;

  deindprcorresp@mad.uscourts.gov.



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          On July 16, 2021, one copy of each Application was sent by UPS overnight delivery to

  Mary Ida Townson, The Office of the United States Trustee for the District of Puerto Rico, Edificio

  Ochoa, 500 Tanca Street, Suite 301, San Juan, PR 00901, and one copy of each Application was

  sent on July 19, 2021 by US Postal Service to the following:

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   MCS Plaza, Suite 500                                   Francisco Pena Montanez
   255 Ponce de Leon Ave.                                 The Puerto Rico Department of Treasury
   San Juan, PR 00917                                     P.O. Box 9024140
                                                          San Juan, PR 00902-4140




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   San Juan, PR 00918




   July 19, 2021                                  Respectfully submitted,

   JENNER & BLOCK LLP                             BENNAZAR, GARCÍA & MILIÁN, C.S.P.

   By:                                            By:
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   Robert Gordon (admitted pro hac vice)          A.J. Bennazar-Zequeira
   Richard Levin (admitted pro hac vice)          Héctor M. Mayol Kauffmann
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                                         EXHIBIT A

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